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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF ILLINOIS

      ANTONIO HUNTER,

                          Plaintiffs,

      v.                                            Case No. 3:21-CV-271-NJR


      WEXFORD HEALTH SOURCES, INC.,
      and STEPHEN RITZ, M.D.,

                          Defendants.

                                    FINAL PRETRIAL ORDER

      ROSENSTENGEL, Chief Judge:

       I.      COUNSEL OF RECORD

               Attorneys for Plaintiff:

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II.         NATURE OF THE CASE

            Between 2018 and 2022, Plaintiff Antonio Hunter was incarcerated at Pinckneyville
            Correctional Center, a facility of the Illinois Department of Corrections (IDOC).


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       Hunter asserts he suffered from a rectal prolapse throughout that time. Hunter did
       not receive surgery for rectal prolapse while he was incarcerated at Pinckneyville.
       Hunter asserts that his rectal prolapse caused him pain and discomfort.

       Hunter has sued one doctor, Dr. Stephen Ritz. Hunter claims that Dr. Ritz violated his
       Eighth Amendment constitutional rights by exhibiting deliberate indifference to his
       need for surgery to repair his rectal prolapse. Dr. Ritz denies that he violated Hunter’s
       constitutional rights.

III.   SUBJECT MATTER JURISDICTION

       This is an action for compensatory damages and punitive damages. Hunter also seeks
       costs and statutory attorney fees.

       The basis for the Court’s subject matter jurisdiction is federal question jurisdiction
       under 28 U.S.C. §§ 1331 & 1343. Hunter’s claims are brought under 42 U.S.C. § 1983.

       The existence of subject matter jurisdiction is not contested.

IV.    UNCONTROVERTED FACTS

       The parties agree that the following facts are not disputed:
          1. In November 2017, Hunter was admitted to the IDOC.

          2. Hunter was incarcerated at Pinckneyville Correctional Center from February
             8, 2018 to July 8, 2022.

          3. Prisoners in the IDOC receive medical care from a company called Wexford
             Health Sources, Inc.
       The parties propose to convey these facts to the jury in the following manner:

       The parties request that the Court convey these facts to the jury.

       Hunter also notes that, as the Court found in its summary judgment ruling, many
       additional facts are “not genuinely disputed.” See Dkt. 118 at 5-11.

V.     CONTROVERTED FACTS

       Defendants identify the following as controverted facts:

          1. Whether Defendant Dr. Ritz violated Hunter’s Eighth Amendment rights
             against deliberate indifference regarding the treatment of his rectal prolapse.



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       Hunter disagrees with Defendants’ characterization of the legal questions above as
       “facts.” Hunter is uncertain which purely factual matters Defendants dispute.

VI.    AGREED TO ISSUES OF LAW

       The parties agree that the Court is to decide the following legal issues:

       At this time, the parties have identified no legal issues that they agree the Court is to
       decide.

       Defendants identify the following legal issues that they believe the Court should
       decide:

          1. Whether Hunter may submit a claim to the jury that Defendant Dr. Ritz
             violated Hunter’s Eighth Amendment rights against deliberate indifference
             regarding the treatment of his rectal prolapse;

          2. Whether Hunter is entitled to compensatory damages;

          3. Whether Hunter is entitled to punitive damages.

       Hunter disagrees that any of the issues above are ripe to be decided by the Court,
       absent appropriate motions and depending on the evidence introduced at trial.
       Further, Hunter’s position is that the jury is to determine whether he is entitled to
       damages.

VII.   WITNESSES

       Hunter intends to call the following witnesses:

          1.   Antonio Hunter
          2.   Dr. Glen Babich
          3.   Dr. Percy Myers
          4.   Dr. Stephen Ritz
          5.   Christine Brown
          6.   Dr. Venketeswara Poola
          7.   Dr. Jerrold Noble
          8.   IDOC Custodian of Records

       Defendants intend to call the following witnesses:

          1. Dr. Stephen Ritz
          2. Dr. Percy Myers



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           3.   Dr. Glen Babich
           4.   Bobby Blum, NP
           5.   Antonio Hunter
           6.   Dr. Steve Meeks
           7.   Christine Brown
           8.   Heather Davis, FNP
           9.   Sean Glasgow, M.D.

VIII.   EXHIBITS

        Defendants Dr. Ritz and Wexford Health Sources, Inc., filed their Rule 26(a)(3)
        Disclosures on June 3, 2024. (Doc. 150). Hunter filed his Rule 26(a)(3) Disclosures on
        June 2, 2024. (Doc. 146). The parties timely filed objections, and the Court has ruled
        accordingly.

  IX.   DAMAGES

        Hunter seeks to ask the jury to award him between $2 million and $12 million in
        compensatory damages. The basis for this amount is the pain and suffering Hunter
        needlessly endured, compounded by the long duration of his suffering. Hunter will
        also ask the jury to award Mr. Hunter punitive damages against Dr. Ritz.

  X.    BIFURCATED TRIAL

        The parties do not anticipate a bifurcated trial.

  XI.   TRIAL BRIEFS

        The parties did not file trial briefs.

 XII.   MOTIONS IN LIMINE
        The parties timely filed motions in limine, which the Court has addressed in its Order
        of July 18, 2024.

XIII.   DEPOSITION DESIGNATIONS

        No deposition designations have been filed or disclosed.

XIV.    JURY INSTRUCTIONS

        The parties have submitted proposed jury instructions.




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XV.   OTHER TRIAL-RELATED MATTERS

      A. Trial Date. Jury Trial will begin on July 22, 2024.

      B. Length of Trial. The probable length of trial is three days.

      C. Voir Dire. Judge Rosenstengel will conduct a preliminary voir dire of all
         prospective jurors, inquiring about the juror’s employment, prior jury service, etc.
         Counsel then will be permitted to conduct voir dire. As a general rule, Judge
         Rosenstengel does not set a time limit on counsel’s voir dire. Any voir dire
         questions that counsel specifically want Judge Rosenstengel to ask shall be
         submitted via e-mail to NJRpd@ilsd.uscourts.gov prior to the first day of trial.

      D. Number of Jurors. There shall be a minimum of six jurors in a civil case. Generally,
         two “alternate jurors” are also selected, and all jurors remaining at the end of the
         case will deliberate.

      E. Witness Exclusion. Non-party witnesses will be excluded from the courtroom
         prior to their testimony at trial. Counsel will bear primary responsibility for
         monitoring enforcement of this Order.

         IT IS SO ORDERED.

         DATED: July 18, 2024

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                                                   NANCY J. ROSENSTENGEL
                                                   Chief U.S. District Judge




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